           Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 1 of 26




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



HARVEY JONAS YONAH FULD                      :
10/1 Ben Azai Street                         :
Jerusalem, Israel                            :
                                             :    Civil Action No. _______________
and                                          :
                                             :
MARY ALICE FULD                              :
10/1 Ben Azai Street                         :
Jerusalem, Israel                            :
                                             :
and                                          :
                                             :
DANIEL YAAKOV FULD                           :
Kochav Hashachar                             :
256 HaGat Street                             :
D.N. Mizrach Binyamin, Israel                :
                                             :
and                                          :
                                             :
EYTAN FULD                                   :
P.O. Box 709                                 :
Tekoa, Israel                                :
                                             :
and                                          :
                                             :
HILLEL CHAIM SHLOMO FULD                     :
Sitvanit 36/1                                :
Beit Shemesh, Israel 99598                   :
                                             :
               Plaintiffs                    :
                                             :
      v.                                     :
                                             :
THE ISLAMIC REPUBLIC OF IRAN                 :
Ministry of Foreign Affairs                  :
Khomeini Avenue                              :
United Nations Street                        :
Tehran, Iran                                 :
                                             :
and                                          :
                                             :



                                         1
            Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 2 of 26




THE SYRIAN ARAB REPUBLIC                  :
Ministry of Foreign Affairs               :
Damascus, SYRIA                           :
                                          :
                        Defendants.       :
__________________________________________:

                                           COMPLAINT

       1.       This action is brought by the Plaintiffs, by and through their counsel, in the

individual capacity of each Plaintiff as more particularly described in the caption of this action for

their own benefit, and for the benefit and on behalf of all those legally entitled to assert a claim

under the Foreign Sovereign Immunities Act 28 U.S.C. § 1605A(c). Plaintiffs, by counsel,

respectfully bring this action against Defendants Islamic Republic of Iran (“Iran”) and the Syrian

Arab Republic (“Syria”) jointly and severally. This matter is related to, inter alia, Botvin, et al. v.

Islamic of Republic of Iran, et al., Civil Action No. 05-220 (RCL) (D.D.C.) (“Botvin I Case”);

Goldberg-Botvin, et al. v. Islamic of Republic of Iran, Civil Action No. 12-1292 (RCL) (D.D.C.)

(“Botvin II Case”); Roth, et al. v. Islamic Republic of Iran, et al., Civil Action No. 11-01377 (RCL)

(D.D.C.) (“Roth Case”); Baxter, et al. v Islamic Republic of Iran, et al. Civil Action Nos. 11-02133

(RCL) (D.D.C.) (“Baxter Case”); Steinberg, et al. v. Islamic Republic of Iran, et. al. Civil Action

No. 17-1910 (RCL) (D.D.C.) (“Steinberg Case”), and Henkin, et al. v. Islamic Republic of Iran, et

al., Civil Action no. 18-01273 (RCL) (D.D.C.) (“Henkin Case”) in that it involves Iranian and

Syrian sponsorship of the same terrorist organization, the Islamic Resistance Movement

(“HAMAS”) which has resulted in the death and injuries of American citizens.

                     JURISDICTION, VENUE, AND CHOICE OF LAW

       2.       This Court exercises subject matter jurisdiction in accordance with the provisions

of 28 U.S.C. §§ 1330(a), 1331, 1332(a)(2), and 1605A.

       3.       Defendant Islamic Republic of Iran has been designated as a State Sponsor of



                                                  2
            Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 3 of 26




Terrorism by the United States Department of State since 1984 and continues to have been so

designated to the present day.

       4.       Defendant Syrian Arab Republic has been designated as a State Sponsor of

Terrorism by the United States Department of State since 1979 and continues to have been so

designated to the present day.

       5.       Defendants Iran and Syria are subject to suit in the courts of the United States

pursuant to 28 U.S.C. § 1605A (“FSIA”).

       6.       Venue lies in this Court pursuant to 28 U.S.C. § 1391(f)(4), which provides, in

pertinent part, that a civil action against a foreign State may be brought in the United States District

Court for the District of Columbia.

       7.       Actions for wrongful death, personal injury and related torts perpetrated by foreign

state sponsors of terrorism through their officials, employees, and agents within the meaning of 28

U.S.C. § 1605A(c) are unique causes of actions arising out of federal counterterrorism statute(s)

and are controlled by applicable federal law.

                                           THE PARTIES

   A. The Plaintiffs

       8.       This action is brought by the Plaintiffs, by and through their counsel, in the

individual capacity of each Plaintiff and on behalf of all those legally entitled to assert a claim

under the FSIA as the survivors and/or family members of Ari Fuld, a United States citizen.

                                          The Fuld Family

       9.       Ari Fuld was murdered on September 16, 2018 by a terror attack committed by

HAMAS, a Foreign Terrorist Organization (“FTO”). At the time of the acts alleged, and at all

other times relevant hereto, Ari Fuld was a citizen of the United States and at all times relevant




                                                   3
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 4 of 26




hereto, a victim of “torture” as defined in the TVPA and “personal injury” and “death” as required

by 28 U.S.C. § 1605A.

       10.     Plaintiff Harvey Jonas Yonah Fuld was, and at all times relevant hereto, the

biological father of Ari Fuld and a citizen of the United States. Plaintiff Harvey Jonas Yonah Fuld

can sue and be sued in this Court.

       11.     Plaintiff Mary Alice Fuld was, and at all times relevant hereto, the biological

mother of Ari Fuld and a citizen of the United States. Plaintiff Mary Alice Fuld can sue and be

sued in this Court.

       12.     Plaintiff Daniel Yaakov Fuld was, and at all times relevant hereto, the biological

brother of Ari Fuld and a citizen of the United States. Plaintiff Daniel Yaakov Fuld can sue and be

sued in this Court.

       13.     Plaintiff Eytan Fuld was, and at all times relevant hereto, the biological brother of

Ari Fuld and a citizen of the United States. Plaintiff Eytan Fuld can sue and be sued in this Court.

       14.     Plaintiff Hillel Chaim Shlomo Fuld was, and at all times relevant hereto, the

biological brother of Ari Fuld and a citizen of the United States. Plaintiff Hillel Chaim Shlomo

Fuld can sue and be sued in this Court.

   B. The Defendants

       15.     Defendants Islamic Republic of Iran and Syrian Arab Republic are jointly and

severally liable to Plaintiffs for all of their damages suffered by the Plaintiffs, and each of them,

due to the heinous terror attack and murder committed upon the decedent, Ari Fuld, thereby

entitling them to recover to the fullest extent of the law.

                                   The Islamic Republic of Iran

       16.     Defendant Islamic Republic of Iran is a foreign state that has been designated and




                                                  4
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 5 of 26




continues to remain designated as a State Sponsor of Terrorism pursuant to § 60 of the Export

Administration Act of 1979 (50 U.S.C. App. § 2405) and § 620(A) of the Foreign Assistance Act

of 1961 (22 U.S.C. § 2371) at all times since January 19, 1984. Iran, at all times pertinent to this

action, provided and continues to provide material support and resources to HAMAS, in aid and

support of its violent terror campaign against individual people, the State of Israel, a member-state

of the United Nations, and contrary to the national security interests of the United States.

       17.     Iran, through its actions, caused the death and injuries described herein, within the

meaning of 28 U.S.C. § 1605A, by providing HAMAS with funding, direction, material support,

encouragement, safe haven and/or training for its terrorist activities.

       18.     Defendant Iran is liable for the actions of HAMAS and its agents.

                                      Syrian Arab Republic

       19.     Defendant Syrian Arab Republic is a foreign state that has been designated and

continues to remain designated as a State Sponsor of Terrorism pursuant to § 60 of the Export

Administration Act of 1979, 50 U.S.C. App. § 2405, and § 620(A) of the Foreign Assistance Act

of 1961 (22 U.S.C. § 2371) at all times since December 29, 1979. Syria, at all times pertinent to

this action, provided material support and resources to HAMAS, in aid and support of its violent

terror campaign against individual people, the State of Israel, and contrary to the national security

interests of the United States.

       20.     Syria, through its actions, caused the death and injuries described herein, within the

meaning of 28 U.S.C. § 1605A, by providing HAMAS with funding, direction, material support,

encouragement, safe haven and/or training for its terrorist activities.

       21.     Defendant Syria is liable for the actions of HAMAS and its agents.

                                    STATEMENT OF FACTS




                                                  5
           Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 6 of 26




         22.   Several prominent terrorist organizations operate in the Palestinian territories

administered by the State of Israel and/or the Palestinian Authority and located on the West Bank

of the Jordan River and in Gaza, the most notable of them all of which is HAMAS. HAMAS’s

committed widespread terrorist attacks during the First Intifada (1987 - 1993), the Second Intifada

(2000 - 2005), before, during and since its violent takeover of the Gaza Strip in June 2007

following Israel’s withdrawal from Gaza in 2005, and its subsequent and continuing terror attacks

upon innocent citizens, residents and civilians living in and visitors to the State of Israel.

         23.   HAMAS is the Islamic Resistance Movement and is a primarily radical Islamist

terrorist organization that is committed to the globalization of Islam through violent “Jihad”, which

means “holy war”.

         24.   HAMAS is formally committed to the destruction of the State of Israel, a sovereign

nation, is extremely anti-American, rejects achieving a peaceful resolution between Israel and the

Palestinians and is committed to achieving its objectives by violent means, including acts of

international terrorism.

         25.   HAMAS is an acronym for “Harakat Muqawama Islamiyya,” which was founded

in December 1987.

         26.   The HAMAS political documents call for the establishment of an Islamic

Palestinian state throughout and in place of Israel by eliminating the State of Israel through violent

jihad.

         27.   HAMAS propaganda since the September 11, 2001 World Trade Center attacks has

praised and glorified Osama bin Laden and his supporters engaged in global jihad.

         28.   Through its military wing, Izz ad-Din al-Qassam Brigades (“Al-Qassam

Brigades”), HAMAS commits criminal activity, including murder, attempted murder, solicitation




                                                   6
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 7 of 26




to commit murder, and numerous other acts of international terrorism, as defined by 18 U.S.C. §

1331, in violation of the criminal code of the United States.

       29.      On January 25, 1995, HAMAS was designated as a Specially Designated Terrorist

organization and, on October 8, 1997, by publication in the Federal Register, the United States

Secretary of State designated HAMAS as a Foreign Terrorist Organization pursuant to Section 219

of the Immigration and Nationality Act as amended by the Antiterrorism and Effective Death

Penalty Act of 1996. HAMAS is also designated as a Specially Designated Global Terrorist

Organization.

       30.      HAMAS has also committed kidnapping and hostage taking in order to put pressure

on the Israeli and American governments, consistent with its terror activities and its total rejection

of peace with Israel.

       31.      Between 1999 and the date of the terrorist attack at issue in this case, the courts of

the United States, including this Court, have published a number of decisions finding that HAMAS

was responsible for terrorist attacks in which American and Israeli citizens were killed or injured.

       32.      HAMAS recruits young people in high schools and on university campuses to be

terrorists and commit single acts of terror including attacks on individual Israelis, Americans and

Jews who are living or working or shopping in the towns and villages adjacent to or within the

areas of the West Bank of the Jordan River.

       33.      In recent years, stabbing attacks by single HAMAS terrorists have emerged as the

most common type of terrorist attack in the West Bank.

       34.      In 2018, stabbing attacks were at the peak of HAMAS terrorist activity. HAMAS

was actively trying to show that not only could it commit terror at the security border between

Israel and the Gaza Strip where HAMAS was in control, but it also could commit terror along the




                                                  7
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 8 of 26




areas of the towns and villages adjacent to or in the West Bank, with operations designed to launch

terrorism against Jews, Israelis, Americans and the rest of the civilian population living, working,

shopping or visiting in the West Bank area.

       35.     In 2018 there were a total of 22 terrorist stabbing attacks in Israel. Ari Fuld was

the ninth civilian victim of a terrorist stabbing attack that year, an attack committed by Khalil

Yusef Ali Jabarin, who has been convicted in the Israeli Military Court of having murdered Ari

Fuld. The convicted terrorist is now imprisoned in the Israeli Prison System.

       36.     During the First Intifada and Second Intifada and continuing until today, HAMAS

carried out hundreds of terrorist attacks intentionally injuring and killing American citizens

through suicide bombings, shootings, stabbings, rocket attacks, car rammings, and a wide variety

of other terror activities. HAMAS not only encourages these attacks, but is proud of the attackers,

who become celebrated martyrs who directly or through their families receive monies from the

Palestinian Authority and/or the Palestine Liberation Organization and/or others as incentives and

rewards for having committed acts of murder and other acts of international terror.

                      THE MURDER OF ARI FULD WAS AN ACT OF

                              INTERNATIONAL TERRORISM


       37.     On September 16, 2018, Ari Fuld, an American citizen, was stabbed and killed in

the Gush Etzion junction in Israel, located adjacent to a community where Israelis, Jews and

Americans reside, work, shop and live.

       38.     The murder of Ari Fuld on September 16, 2018 was committed by HAMAS,

through a heinous act of murder by one of its terrorists with the material aid and support of

Defendants Iran and Syria, and was an act of international terrorism.

       39.     Ari Fuld left his home for a routine shopping trip near the popular Rami Levy



                                                 8
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 9 of 26




supermarket at the Gush Etzion Junction when he was targeted by Khalil Jabarin and stabbed

multiple times in the upper back and neck by the terrorist using a 21-centimeter knife. After he

was stabbed, he pursued, shot, and wounded the terrorist, who was by that point attempting to also

attack a local shop employee. While the shop employee’s life was spared, Fuld, who was

transported to the hospital, subsequently died from his fatal injuries.

       40.     An investigation revealed that the terrorist who stabbed and murdered Ari Fuld was

carried out by HAMAS terrorist -Khalil Yusef Ali Jabarin. Jabarin was arrested, indicted, and

convicted for the murder of Ari Fuld and the attempted murder of three others.

       41.     A few hours after the attack, HAMAS praised the attack.

       42.      Eventually, HAMAS, through the official website of Al-Qassam Brigades, took

responsibility for the terrorist attack by releasing a video. In the video, the spokesperson for the

Al-Qassam Brigades shows pictures of Khalil Jabarin and a video of Jabarin fleeing from the scene

of the terrorist attack. The video includes captions proclaiming that HAMAS’ jihadist soldiers

will continue their presence in the West Bank and will not leave.

       43.     HAMAS was and is neither a sovereign entity nor de facto government, but rather

was and remains a Specially Designated Foreign Terror Organization at all times relevant hereto.

    IRAN’S SPONSORSHIP OF AND PROVISION OF MATERIAL SUPPORT AND
                        RESOURCES TO HAMAS


       44.     The Islamic Republic of Iran has used and continues to use terror as a means of

attempting to accomplish its foreign policy and uses terror organizations, such as HAMAS,

Hezbollah and other terror organizations as its tools and proxies to commit the terror attacks. This

has been determined by the US Department of State, which designated the Islamic Republic of

Iran in 1984 as a State Sponsor of Terrorism, a status that has been continuously maintained since




                                                  9
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 10 of 26




that time. Numerous US District Court judgments have been entered against Iran for supporting

and sponsoring terror against Americans.

       45.     The Islamic Republic of Iran is a republic in name only. In reality, it is a theocracy

headed by a single cleric holding the title of Supreme Leader who has nearly complete control

over the country’s policies and actions. Externally it appears to be a democratic regime with regular

elections, but the truth is that the Supreme Leader is a dictator.

       46.     The constitution gives the Supreme Leader the responsibility to set the general

policies of Iran, including domestic and foreign policies.

       47.     The Supreme Leader also is commander-in-chief of the armed forces, controls the

intelligence and security operations, appoints leaders of the judiciary, state radio, and state

television networks, and is supreme commander of the Islamic Revolutionary Guard Corps

(IRGC).

       48.     The Supreme Leader appoints half of the Council of Guardians, the body that

oversees the Parliament, ensures laws are in compliance with Sharia Law, and determines which

candidates are qualified to run for public office.

       49.     The Supreme Leader, by and through his independent appointments, effectively

controls what laws are passed and who is allowed to run for office.

       50.     The first Supreme Leader, Ayatollah Ruhollah Khomeini, assumed power in 1979

after a popular uprising. He instituted clerical rule and established the modern Iranian constitution

that establishes a Supreme Leader as the real head of the state.

       51.     Khomeini ruled until his death on June 4, 1989.

       52.     Seyyed Ali Khamenei was selected by the Assembly of Experts, an 86-cleric

assembly, to be the second, and current, Supreme Leader in August 1989.




                                                 10
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 11 of 26




       53.      Since his ascension to Supreme Leader, Khamenei has continued and expanded

Khomeini’s ideology of terrorism as an important tool of foreign policy.

       54.      The Islamic Republic of Iran supports such Foreign Terrorist Organizations as

HAMAS, Hizballah (also spelled Hezbollah), and Palestinian Islamic Jihad. Iran is publicly

committed to the destruction and annihilation of the State of Israel, demonizes Israel and the United

States of America at the United Nations and in the court of public opinion and supports

international terror in pursuit of its political goals against both Israel and the United States of

America. Support for HAMAS from Iran’s territory or Iran government actors, on the scale

required to facilitate, support, arm, embolden and encourage HAMAS, could not have been

accomplished without the explicit authorization of the Iranian government and Iranian Military

Intelligence through Supreme Leader Ali Khamenei.

       55.      Iran has an extensive history of funding and supporting HAMAS terrorism with the

goal of murdering citizens of the United States. A few of those attacks include, but are not limited

to, the following cases as decided by this Court:

             a. The Ben Yehuda Street bombing on September 4, 1997, in which three HAMAS

                terrorists entered a crowded pedestrian mall in Jerusalem and detonated their

                suicide bombs killing five people and injuring nearly 200, including the American

                citizen Yael Botvin. This Court found Iran liable for funding, aiding, and supporting

                the HAMAS terrorists in the matter of Estate of Botvin v. Islamic Republic of Iran,

                873 F. Supp. 2d 232 (D.D.C. 2012).

             b. The Sbarro restaurant bombing on August 9, 2001, in which a HAMAS terrorist

                detonated a bomb that he carried in a guitar case, killing fifteen people including at

                least two American citizens, one of whom was Malki Roth. This Court found Iran




                                                 11
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 12 of 26




                liable for the material support and training they provided to the HAMAS terrorist

                in the matter of Roth v. Islamic Republic of Iran, 78 F. Supp. 3d 379 (D.D.C. 2015).

             c. The April 30, 2003, suicide bombing at Mike’s Place, a music club in Tel Aviv,

                Israel. A HAMAS suicide bomber detonated his explosives inside Mike’s Place, a

                popular club next to the US Embassy to Israel and frequented by many tourists and

                US Embassy personnel. This Court found Iran liable for providing logistical and

                financial support to HAMAS in the matter of Baxter v. Islamic Republic of Iran,

                No. 11-cv-02133 (D.D.C. Sept. 27, 2019).

             d. On July 20, 2014, Max Steinberg, an American citizen who had moved to Israel on

                September 11, 2012 to help in the response to the terror being waged against Israel,

                and who was serving in the Golani Brigade of the IDF, went to search for rocket

                launchers and terror tunnels in Gaza City, in keeping with his mission to help stop

                terror. While Max was in Gaza City for this counter-terrorism effort, a member of

                HAMAS shot at and hit Max’s vehicle with an anti-tank rocket. Max was killed by

                the terrorists’ rocket attack. This Court found Iran liable for the death of Max

                Steinberg and for the injuries to his family. In the matter of Estate of Steinberg v.

                Islamic Republic of Iran, No. 17-CV-1910 (RCL), 2019 WL 6117722, at *1

                (D.D.C. Nov. 18, 2019).

       56.      The Islamic Republic of Iran was designated by the United States Department of

State on January 19, 1984 as a State Sponsor of Terrorism and continues to be so designated to the

present day. As such, Iran can be sued in this Court for providing material support to terror

organizations which commit acts of international terror against Americans abroad.

       57.      During the period relevant hereto, Defendant Iran provided HAMAS and its




                                                 12
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 13 of 26




terrorists with training bases, facilities, funding, and other material support for its terror activities.

These training bases and facilities were located outside Tehran, Iran, in Dara Kazwin.

        58.     HAMAS and its terrorists utilized the training bases and facilities provided by Iran

to train for the commission of acts of terrorism. This training included the use of firearms,

explosives, knives, and other weapons.

        59.     HAMAS and its terrorists also utilized these bases and facilities, inter alia, as

depots for storage of weapons and explosives, to establish, maintain and operate a leadership

command, organizational hierarchy and/or operational infrastructure, and/or offices/headquarters.

        60.     Additionally, at all times relevant hereto, Iran provided HAMAS and its terrorists

with funding and training in terrorism activities, including training on the use of weapons and

explosives.

        61.     Upon information and belief, the training in terrorism activities was provided by

and through Iran military and intelligence officials, and other agents, employees, and officials of

Defendant Iran.

        62.     Upon information and belief, at all times relevant hereto, Defendant Iran also

provided HAMAS and its leaders, officials, and terrorists, with lodging, safe haven, and shelter

permitting them to conduct their terrorist activities freely and unhindered.

        63.     The duration, quantity, and quality Iran’s material support, even if not designated

for specific attacks, greatly contributed to HAMAS’ ability to carry out terrorist attacks. HAMAS

and its terrorists could not have carried out the lethal attack described in this Complaint without

Iran’s support and sponsorship. Iran and its agents knew and intended that HAMAS would

continue to carry out further terrorist attacks, yet Iran continues to support HAMAS to this very

day.




                                                   13
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 14 of 26




       64.     Therefore, as a direct and proximate result of the provision of the material support

to HAMAS by the Defendant Iran as described herein, hundreds of innocent civilians were killed

and grievously injured by acts of terrorism committed by HAMAS. Among the civilians murdered

and wounded by HAMAS’ terrorist attacks committed with the material support of the Islamic

Republic of Iran was the decedent, Ari Fuld, whose family members are each Plaintiffs named

herein and are entitled to justice and an award of damages for the heinous act of terrorist murder

committed upon the deceased and each of the Plaintiffs, in amounts as shall be proven at the trial

of the within action.

          SYRIA’S SPONSORSHIP OF AND PROVISION OF MATERIAL SUPPORT
                          AND RESOURCES TO HAMAS

       65.     The Syrian Arab Republic has used and continues to use terror as a means of

attempting to accomplish its foreign policy and uses terror organizations, such as HAMAS,

Hezbollah and other terror organizations as its tools and proxies to commit the terror attacks. This

has been determined by the US Department of State, which designated the Syrian Arab Republic

in 1979 as a State Sponsor of Terrorism, a status that has been continuously maintained since that

time. Numerous United States District Court judgments have been entered against Syria for

supporting and sponsoring terror against Americans.

       66.     The Syrian Arab Republic is a republic in name only. In reality, it is a dictatorship

and police state that strategically exhibits only the external forms of a democratic regime.

       67.     Until a February 2012 referendum, its constitution vested one particular party – the

Arab Socialist Ba’ath Party –with leadership functions vested in the State and society.

       68.     Despite the constitutional referendum, the President still has the power to issue

laws, and controls the legislative process.

       69.     The terror-supporting history and understanding of the structure and makeup of the



                                                14
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 15 of 26




Syrian Arab Republic is relevant to its current support of terror. In 1966, Syrian Ba’athists

conducted a coup d’état. The Ba’athists eliminated all political parties in opposition. Hafez Al-

Assad was appointed Minister of Defense.

        70.     In 1970, Hafez Al-Assad led another coup, in which the Ba’ath party was purged

of internal opposition, its leaders were jailed, and Hafez Al-Assad installed as President of the

police state.

        71.     The Al-Assad family has controlled the Syrian regime without interruption for

forty-seven (47) years, since approximately 1970 until today.

        72.     Hafez Al-Assad had a three-decade Presidency, lasting from 1970 to 2000, in which

he was confirmed as President in unopposed referenda five consecutive times.

        73.     He was succeeded by his son Bashar Al-Assad in 2000. Bashar Al-Assad was

confirmed as President, leader of the Ba’ath Party and leader of the Army, for a 7-year term, by an

unopposed referendum held in 2001 in which he claimed 97.2% of the vote.

        74.     He was re-appointed in another unopposed referendum in 2007, this time claiming

97.6% of the vote.

        75.     In 2014, Bashar Al-Assad was reelected to a third 7-year term, claiming 88.7% of

the vote with polling only allowed in government-held territory.

        76.     Members of President Al-Assad’s own minority sect, the Al-Awali clan, control

most key positions in the Syrian military and Syrian intelligence and security services.

        77.     The Ba’ath Party, controlled by Al-Assad, is in control of the Syrian military,

intelligence and security services, the latter consuming a large share of Syria’s economic resources.

        78.     President Al-Assad and his senior aides in the Syrian military and Syrian

intelligence and security services make most important decisions in Syrian political and economic




                                                 15
          Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 16 of 26




life.

         79.   There are more than a dozen security services in Syria, some overlapping in their

domains, to make sure that the whole of Syrian territory is covered. These security services answer

directly to President Bashar Al-Assad and his brother General Maher Al-Assad, commander of the

Syrian Republican Guard.

         80.   Syria is a dictatorship which has been undergoing a civil war during this past

decade, emanating from Syria’s repression of freedoms within Syria.

         81.   Syria has been in a state of war with its neighbor, the State of Israel, since its

founding. Syria is and remains committed to the destruction of the State of Israel and uses the

providing of material support for acts of terror as a means of expressing its political opposition to

Israel and the United States of America.

         82.   Syria provides extensive material support for HAMAS as part of its network of

terror supporting activities in opposition to Israel and the United States of America.

         83.   The Syrian Arab Republic was designated by the United States Department of State

on December 29, 1979 as a State Sponsor of Terrorism and continues to be so designated to the

present day. As such, the Syrian Arab Republic can be sued in this Court for providing material

support to terror organizations which commit acts of international terror against Americans abroad.

         84.   Support for HAMAS from Syrian territory and/or by Syrian government actors, on

the scale required to facilitate HAMAS, could not have been accomplished without the explicit

authorization of the Syrian government and Syrian Military Intelligence through President Al-

Assad.

         85.   U.S. Department of State Bulletin 87, published in 1987 [Feb. 1987:73] states:

“[a]vailable evidence indicates that Syria prefers to support groups whose activities are generally




                                                 16
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 17 of 26




in line with Syrian objectives rather than to select targets or control operations itself. Damascus

utilizes these groups to attack or intimidate enemies and opponents and to exert its influence in the

region. Yet at the same time, it can disavow knowledge of their operations. Such Syrian-supported

groups have carried out scores of attacks against Palestinian and other Arab, Turkish, Israeli, and

Western targets…”.

       86.       The Bulletin lists many examples of Syrian sponsorship of terrorism and terrorist

organizations.

       87.       Syria has an extensive history of funding and supporting HAMAS terrorism with

the goal of murdering citizens of the United States and of Israel. A few of those attacks include,

but are not limited to:

             a. The July 20, 2014, rocket-propelled grenades launched by HAMAS terrorists at an

                 Israeli armored vehicle killing American Max Steinberg and six others who were

                 travelling in Gaza City in search of three HAMAS-kidnapped boys, two Israelis

                 and one American. The HAMAS terrorists were materially supported by Syria with

                 financial support, smuggled weapons, and training. This Court found Syria liable

                 for sponsoring and providing materials support to HAMAS. Estate of Steinberg v.

                 Islamic Republic of Iran, No. 17-CV-1910 (RCL), 2019 WL 6117722, at *1

                 (D.D.C. Nov. 18, 2019).

             b. The June 12, 2014, kidnapping and murder of three boys, two Israelis and one

                 American, Naftali Fraenkel. The boys were kidnapped by HAMAS terrorists at a

                 junction inside the territory under the control of the State of Israel in Alon Shvut,

                 an Israeli community southwest of Jerusalem, on their way home from school. After

                 eighteen (18) days of intense searching, their bodies were discovered on the




                                                  17
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 18 of 26




                property of the head of the HAMAS cell that orchestrated the kidnapping and

                murders. This Court found Syria liable for sponsoring and providing materials

                support to HAMAS. Fraenkel v. Islamic Republic of Iran, 248 F.Supp.3d 21

                (D.C.D.C. 2017).

             c. The October 22, 2014, vehicular attack by Abdel Rahman Shaludi, HAMAS

                terrorist. Abdel drove a car to a light rail station in Jerusalem where he intentionally

                drove onto the tracks and rammed his vehicle into the crowd of people attempting

                to kill as many pedestrians as possible. Among the crowd was an American baby,

                Chaya Zissel Braun, who was in a stroller when it was struck by the car. Chaya was

                thrown into the air before landing her head on the pavement; Chaya was

                pronounced dead two hours later in a nearby hospital. This Court found Syria liable

                for sponsoring and providing materials support to HAMAS. Braun v. Islamic

                Republic of Iran, et al., 228 F. Supp. 3d 64 (D.D.C. 2017)

       88.      During the period relevant hereto, Defendant Syria provided HAMAS and its

terrorists with training bases and facilities. These training bases and facilities were located within

Syria, and in areas of Lebanon including in the Bakaa Valley occupied by and under the complete

control of Syria.

       89.      HAMAS and its terrorists utilized the training bases and facilities provided by Syria

to train for the commission of acts of terrorism. This training included the use of firearms,

explosives, and other weapons.

       90.      HAMAS and its terrorists also utilized these bases and facilities, inter alia, as

depots for storage of weapons and explosives, to establish, maintain and operate a leadership

command, organizational hierarchy and/or operational infrastructure, and/or offices/headquarters.




                                                  18
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 19 of 26




       91.     Additionally, at all times relevant hereto, Syria provided HAMAS and its terrorists

with funding and training in terrorism activities, including training on the use of weapons and

explosives.

       92.     Upon information and belief, at all times relevant herein, the training in terrorism

activities was provided by and through Syrian military and intelligence officials, and other agents,

employees and officials of Defendant Syria.

       93.     Upon information and belief, at all times relevant hereto, Defendant Syria also

provided HAMAS and its leaders, officials, and terrorists, with lodging, safe haven, passage and

shelter permitting them to conduct their terrorist activities freely and unhindered.

       94.     The duration, quantity, and quality Syria’s material support, even if not designated

for specific attacks, greatly contributed to HAMAS’ ability to carry out terrorist attacks. HAMAS

could not have carried out the murderous attack on Ari Fuld as described in this Complaint without

Syria’s support and sponsorship. Syria and its agents knew and intended that HAMAS would

continue to carry out further terrorist attacks yet continued to support HAMAS.

       95.     As a direct and proximate result of the provision of the material support to HAMAS

by the Defendant Syria as described herein, hundreds of innocent civilians were killed and/or

grievously injured by acts of terrorism committed by HAMAS. Among the civilians murdered

and wounded by HAMAS’ terrorist attacks is the decedent, Ari Fuld, whose family members are

each Plaintiffs named herein and are entitled to justice and an award of damages for the heinous

act of terrorist murder committed upon the deceased and each of the plaintiffs, in amounts as shall

be proven at the trial of the within action.

                                            COUNT I
                                    Under 28 U.S.C. §1605A(c)
                                    (on behalf of All Plaintiffs)




                                                 19
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 20 of 26




        96.     Plaintiffs repeat, reallege and incorporate by reference those facts and allegations

set forth in all the foregoing paragraphs as if fully set forth herein.

        97.     As recounted above, the death of Ari Fuld was caused by a willful and deliberate

act of terror committed by HAMAS, a Foreign Terrorist Organization, with the material aid and

support of the Defendants, the Islamic Republic of Iran and the Syrian Arab Republic, and each of

them, who through their agents, financed the attack, planned the attack and rendered material

support to the activities of HAMAS that resulted in the murder of Ari Fuld, a US national. Those

agents were at all times acting with the scope of their agency and acted on the direction of and/or

with the material support of the Defendants, the Islamic Republic of Iran and the Syrian Arab

Republic, and each of them, jointly and severally.

        98.     As a direct and proximate result of the willful, wrongful and intentional act of the

Defendants hereinabove described, for which the Defendants are vicariously, jointly and severally

liable, each of the Plaintiffs, each being a US national, have endured extreme mental anguish,

physical injury, pain and suffering, solatium, and loss of the affection, love and companionship of

their beloved son and brother, Ari Fuld, for which the Plaintiffs and each of them seek an award

of damages and judgment against each of the Defendants, jointly and severally, to the fullest extent

of the law.

        99.     WHEREFORE, each of the Plaintiffs demand that judgment be entered, jointly and

severally, against the Defendants, The Islamic Republic of Iran and the Syrian Arab Republic, and

each of them, for the damages they suffered, including, but not limited to, pain, suffering, mental

anguish, emotional distress, and solatium in such amounts as shall be proven at trial, and for their

costs expended, including attorneys’ fees, and as otherwise as permitted by this Court.

                                           COUNT II
                                       LOSS OF SOLATIUM



                                                  20
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 21 of 26




                                    (On behalf of all Plaintiffs)

        100.    The Plaintiffs repeat and re-allege each and every allegation set forth above with

like effect as if alleged herein.

        101.    As a direct and proximate result of the willful, wrongful, intentional, and reckless

acts of the Defendants, their agents and instrumentalities, each of the Plaintiffs suffered extreme

mental anguish, emotional pain and suffering, and the loss of the society and companionship of

the victims.

        102.    Accordingly, each of the Plaintiffs being a US national bring claims for loss of

solatium against the Defendants, and each of them, jointly and severally pursuant to 28 U.S.C. §

1605A(c), or, in the alternative, under the laws of the District of Columbia.

        103.    WHEREFORE, each of the Plaintiffs demand that judgment be entered against the

Defendants and each of them, jointly and severally, in an amount to be proven at trial for their

compensatory damages, and otherwise as permitted by this Court.

                                    COUNT III
                    INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                              (On behalf of all of the Plaintiffs)

        104.    The Plaintiffs repeat and re-allege each and every allegation set forth above with

like effect as if alleged herein.

        105.    On September 16, 2018, a HAMAS terrorist willfully, violently, and forcefully

stabbed and killed the decedent, Ari Fuld, a US national.

        106.    The act of stabbing and killing Ari Fuld constituted extreme and outrageous conduct

on the part of HAMAS, whose acts were funded, directed and materially supported by the Islamic

Republic of Iran and the Syrian Arab Republic.

        107.    As a direct and proximate result of the willful, wrongful, intentional, and reckless




                                                 21
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 22 of 26




acts of HAMAS and its terrorists who were funded and directed by the Islamic Republic of Iran

and the Syrian Arab Republic, Plaintiffs suffered severe emotional distress, entitling them to an

award of compensatory damages.

        108.    Each Plaintiff may assert a cause of action for intentional infliction of emotional

distress against the Defendants in connection with the willful, wrongful, intentional, and reckless

actions of HAMAS terrorists. Such cause of action may be asserted pursuant to 28 U.S.C. §

1605A(c), or, in the alternative, under the laws of the District of Columbia.

        109.    WHEREFORE, Plaintiffs demand that judgment be entered against the Defendants

and each of them, jointly and severally, in an amount to be proven at trial for their compensatory

damages, and otherwise as permitted by this Court.

                                           COUNT IV
                                     PUNITIVE DAMAGES
                                    Under 28 U.S.C. § 1605A(c)
                                    (on behalf of all Plaintiffs)

        110.    The Plaintiffs repeat and re-allege each and every allegation set forth above with

like effect as if alleged herein.

        111.    The actions of the Islamic Republic of Iran, who has been committing, sponsoring,

and supporting acts of international terror against Americans and others at least since 1979, and

certainly since 1984 when it was designated as a State Sponsor of Terror; and the actions of the

Syrian Arab Republic, who has been committing, sponsoring, and supporting acts of international

terror against Americans and others at least since 1979, when it was designated as a State Sponsor

of Terror; are heinous in nature, politically motivated, and target the United States of America and

the State of Israel, its citizens, residents and visitors, thereby rendering both Defendants, jointly

and severally, liable for the heinous murder of Ari Fuld, and thereby entitling each of the Plaintiffs,

being his near family members, to an award of damages as shall be determined at trial and in



                                                  22
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 23 of 26




accordance with the laws of the United States.

        112.    The acts of the Defendants, and each of them, carried out by their agents as

described above, were malicious, willful, unlawful and in wanton disregard of life and the

standards of law that govern the actions of civilized nations. The loss of life as above described

was intended as a result by each Defendant. The family members of Ari Fuld are each victims of

the acts of international terror committed by HAMAS with the material support of each of the

Defendants. The actions of the HAMAS terrorist who carried out the attack described was within

the scope of their agency on behalf of the Defendants. In accordance with the provisions of 28

U.S.C §1605A(c), the Plaintiffs are thereby entitled to a maximal award of punitive damages to

the fullest extent of the law.

        113.    The actions of HAMAS, as set forth hereinabove, were intentional and malicious

and in willful, wanton, and reckless disregard of Ari Fuld’s rights and physical well-being. The

actions of HAMAS were part of its ongoing and continuing campaign of terror committed against

citizens of the United States of America and the State of Israel in support of the political goals and

aims of HAMAS to reject peace with Israel, to oppose US foreign policy in the region, and to use

terror as a means of destroying the State of Israel, consistent with the foreign policy positions of

the Defendants, the Islamic Republic of Iran and the Syrian Arab Republic, both of which are

avowed enemies of Israel and oppose US foreign policy in the region. The acts of HAMAS were

facilitated through funding, training, and material support by the Islamic Republic of Iran and the

Syrian Arab Republic. In accordance with 28 U.S.C § 1605A(c) the Defendants, the Islamic

Republic of Iran and the Syrian Arab Republic, and each of them, are therefore liable for the

actions of HAMAS, the Foreign Terrorist Organization and its terrorists. In providing such

funding, material support, direction, and training, the Islamic Republic of Iran and the Syrian Arab




                                                 23
         Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 24 of 26




Republic were acting within the scope of its agencies as an instrumentality. Said agencies rendered

material support to the terrorists who actually carried out the act of murdering the decedent, Ari

Fuld. This Court has previously found the Defendants liable for the support of HAMAS and other

Foreign Terrorist Organizations. Notwithstanding said findings, the Defendants Iran and Syria

have continued to this day to sponsor and support terror. The Defendants, and each of them, must

be punished by this Court for their continuing acts of sponsorship of terror. The Defendants, and

each of them, must be held out as an example to the world that this Court will not countenance

acts of terror, nor those who materially support and fund terror. A maximal award of punitive

damages is requested on behalf of each and all of the Plaintiffs, being the mother, father and

brothers of the decedent, Ari Fuld, as against all Defendants, jointly and severally, in accordance

with the provisions of 28 U.S.C. §1605A(c), each of which are liable for punitive damages.

       114.    WHEREFORE, the Plaintiffs pray that judgment be entered, jointly and severally,

against the Islamic Republic of Iran and the Syrian Arab Republic, on behalf of each Plaintiff, in

the amount of one billion US Dollars ($1,000,000,000) for the Plaintiffs, as against each of the

Defendants, jointly and severally, and their costs herein expended.


                                    PRAYER FOR RELIEF

       115.    WHEREFORE, Plaintiffs, request this Court find each of the Defendants, the

Islamic Republic of Iran and the Syrian Arab Republic, liable for the acts alleged herein and enter

joint and several Judgment against the Defendants as follows:

           a. Awarding Plaintiffs, and each of them, being the mother, father and brothers of the

               decedent, Ari Fuld, compensatory damages against Defendants Islamic Republic of

               Iran and the Syrian Arab Republic, jointly and severally, in amounts to which they

               are entitled by law and as shall be determined at trial in accordance with evidence



                                                24
        Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 25 of 26




             to be submitted to this Court;

          b. Awarding Plaintiffs and each of them solatium damages against the Defendants,

             jointly and severally, in amounts to which they are entitled by law and as shall be

             determined at trial in accordance with evidence to be submitted to this Court;

          c. Awarding Plaintiffs punitive or exemplary damages against Defendants Iran and

             Syria, jointly and severally, in the amount of one billion US dollars

             ($1,000,000,000) as punishment for their continued support for and sponsorship of

             acts of terror against Americans, and to send a message to the world that this Court

             will not countenance the continued sponsorship of terror by the Islamic Republic

             of Iran and/or the Syrian Arab Republic, in such amount and consistent with

             evidence as shall be determined at trial in accordance with evidence to be submitted

             to this Court;

          d. Awarding Plaintiffs prejudgment interest and post judgment interest as computed

             and calculated at the maximum rate allowable by law;

          e. Awarding Plaintiffs their costs and disbursements and reasonable allowances of

             reasonable fees for Plaintiffs counsel and experts and reimbursement of expenses;

          f. Leave to amend this Complaint as the interests of justice may allow; and

          g. Granting any and all such further and other relief as the Court may deem just and

             proper.



Dated: September 1, 2020

                                              Respectfully submitted,

                                              Heideman Nudelman & Kalik, P.C.
                                              1146 19th Street, NW, Fifth Floor



                                                25
Case 1:20-cv-02444-RCL Document 1 Filed 09/01/20 Page 26 of 26




                            Washington, DC 20036
                            (202) 463-1818

                            By: /s/Richard D. Heideman______
                                Richard D. Heideman (DC Bar No. 377462)
                                Noel J. Nudelman (DC Bar No. 449969)
                                Tracy Reichman Kalik (DC Bar No. 462055)
                                Joseph H. Tipograph (DC Bar No. 997533)




                              26
